UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

HUGH BITTENBENDER and ALEXANDRIA

BITTENBENDER,
Plaintiffs,
Civil Case No. 14-4870
Vs.
ECF Case
TUTOR PERINI CORPORATION,
Defendant.
TO: United States District Court
Eastern District of New York
NOTICE OF REMOVAL

Pursuant to 28 U.S.C. 8§ 1441 and 1446, and Local Rule 81.1, Defendant TUTOR
PERINI CORPORATION (hereinafter “Defendant”) by its attorneys, Goldberg Segalla LLP,
submits this Notice of Removal from the Nassau County Supreme Court, State of New York, in
which the above-captioned matter is now pending, to the United States District Court for the
Eastern District of New York. In support of said Notice, Defendant states as follows:

Procedural History

1, Plaintiffs filed their complaint in Nassau County Supreme Court, State of New
York, on or about August 6, 2014. Plaintiffs’ complaint did not contain a specific monetary
demand for judgment, but states that “the monetary damages sustained by plaintiff exceed the
jurisdictional limitations of all lower courts.” A copy of the State Court complaint is attached
hereto as Exhibit A. No other pleadings have been filed in State Court or otherwise received by

Defendant.

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2. This Court has subject-matter jurisdiction of the action pursuant to 28 U.S.C. §
1332 in that it is a civil action between citizens of different states, and the matter in controversy
exceeds the sum or value of $75,000.00, exclusive of interest and costs.

3, Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is timely, as it has been
filed with this Court within thirty (30) days after Defendant received Plaintiffs’ complaint
wherein they demanded judgment in excess of the jurisdictional amounts of all lower courts.

Parties and Amount in Controversy

4, This Court has jurisdiction over this matter because the parties are citizens of
different States. See 28 U.S.C. § 1332(a)(1).

5. Plaintiffs, Hugh and Alexandria Bittenbender, assert in their Complaint that they
are residents of the County of Nassau, State of New York, and thus are citizens of New York for
diversity purposes.

6. Defendant is a corporation organized under the laws of the state of Massachusetts
with its principal place of business in California, and thus is a citizen of Massachusetts and
California for diversity purposes.

7. Without admitting the veracity thereof, the complaint demands judgment against
Defendant in an amount in excess of the jurisdictional limits of all lower courts. See Exhibit A.
Without admitting the veracity thereof, Plaintiff allegedly sustained injuries to his shoulder, hip
and back due to a twelve foot fall and was reportedly earning $175,000 a year at the time of the
accident. Accordingly, without consenting to the veracity thereof, Plaintiffs’ alleged injuries
exceed $75,000.00. Thus, this Court has jurisdiction over this matter because the amount in

controversy exceeds $75,000.00, exclusive of interest and costs.

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Basis For Removal

8. This Court has subject-matter jurisdiction on the basis of diversity of citizenship
under 28 U.S.C. § 1332.

o, As required by 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being
served upon Plaintiffs, by and through their attorney of record, and is being filed with the Clerk
of Court for the New York County Supreme Court, State of New York,

WHEREFORE, Defendant files this notice of removal so that the entire state court
action under Index No. 604025/2014 now pending in the State of New York, Supreme Court,
County of Nassau, be removed to this Court for all further proceedings.

Dated: White Plains, New York Respectfully submitted,

August 15, 2014 fi
GOLDBERG SEGALLA LLP _
By: | L oo

Laura. AShley Martin, Esq.

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White Plains, NY 10606

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FAX 914.798.5401
Imartin@goldbergsegalla.com

TO: Sacks & Sacks LLP
150 Broadway, 4"" Floor
New York, NY 10038
Attorneys for Plaintiff

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EXHIBIT A

3075566.1
(FILED: NASSAU COUNTY CLERK 08/06/2014 03:03 PM INDEX NO. 604025/2014
NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 08/06/2014

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF NASSAU SUMMONS
x
HUGH BITTENBENDER and Index No.:
ALEXANDRIA BITTENBENDER, Date Purchased:
Plaintiff(s), Plaintiff designates NASSAU
County as the place of trial
-against-
Basis of Venue: Plaintiff's place
TUTOR PERINI CORPORATION of residence

Defendant(s).

To the above named Defendant(s):

You are hereby summoned to answer the complaint in this action and to serve a
copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
appearance, on the Plaintiff's Attorney(s) within 20 days after the service of this summons,
exclusive of the day of service (or within 30 days after the service is complete if this summons is
not personally delivered to you within the State of New York); and in case of your failure to
appear or answer, judgment will be taken against you by default for the relief demanded in the
complaint.

DATED: NEW YORK, NEW YORK
AUGUST 6, 2014
SACKS|AND SACKS, LLP

By: DAVID H. MAYER, ESQ.
Attorney(s) for Plaintiffs

Office and Post Office Address
150 Broadway - 4th Floor

New York, New York 10038
(212) 964-5570

Defendant(s) Address(es):

TUTOR PERINI CORPORATION
1000 Main Street

New Rochelle, NY 10801

AND

C/O C T Corporation System

111 Eighth Avenue

New York, New York 10011
SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NASSAU

HUGH BITTENBENDER and
ALEXANDRIA BITTENBENDER,
VERIFIED COMPLAINT
Plaintiff(s),

- -against-
Index No.:
TUTOR PERINI CORPORATION

Defendant(s).

Plaintiffs, complaining of the defendants, by their attorneys, SACKS & SACKS, LLP,
respectfully allege as follows:

AS AND FOR A FIRST CAUSE OF ACTION ON BEHALF
OF PLAINTIFF, HUGH BITTENBENDER

FIRST: That at all times herein mentioned, defendant, TUTOR PERINI
CORPORATION was and still is a domestic corporation duly organized and existing under and
by virtue of the laws of the State of New York.

SECOND: That at all times herein mentioned, defendant, TUTOR PERINI
CORPORATION was and still is a domestic joint venture duly organized and existing under and
by virtue of the laws of the State of New York.

THIRD: That at all times herein mentioned, defendant, TUTOR PERINI
CORPORATION was and still is in the business of providing general contracting services and
was the general contractor at premises under construction located at Kings County Hospital,
SUNY Downstate Medical Center at 450 Clarkson Avenue in the Borough of Brooklyn, City and
State of New York.

FOURTH: That at all times herein. mentioned, defendant, TUTOR PERINI
CORPORATION was in the business of providing construction management services and was

the construction manager at the aforesaid premises.
FIFTH: That at all times herein mentioned, defendant, TUTOR PERINI
CORPORATION was retained by SUNY Downstate Medical Center/Kings County Hospital for
TUTOR PERINI CORPORATION to act as general contractor and/or construction manager at
the aforesaid premises.

SIXTH: That at all times herein mentioned, defendant, TUTOR PERINI
CORPORATION entered into a subcontract with Atlantic Detail for Atlantic Detail to perform
ironworking services at the aforesaid premises.

SEVENTH: That on the 1% day of March, 2014, while plaintiff, HUGH
BITTENBENDER was lawfully upon the aforesaid premises as an employee of the aforesaid
Atlantic Detail he was caused to sustain serious and severe injuries.

EIGHTH: The claim arose on the 1° day of March, 2014 at approximately 11:15
a.m. at SUNY Downstate Medical Center a/k/a new construction at Kings County Hospital in the
Borough of Kings, City and State of New York. At all times herein mentioned, SUNY Downstate
Medical Center owned, operated, managed and controlled the aforesaid premises and further
retained numerous contractors including Atlantic Detail to perform work, labor and services
thereat. While claimant was lawfully upon the aforesaid premises as an employee of the
aforesaid Atlantic Detail, he was caused to sustain serious and severe injuries when he was
caused to fall from structural steel. The occurrence as aforesaid was caused solely and wholly
by the reason of negligence, carelessness and recklessness of defendant and its contractors,
agents and employees who were negligent in the ownership, operation, management and
control of the aforesaid premises. The defendant, its contractors, agents and employees failed
to provide scaffolding that was properly constructed, placed, operated and maintained: further,
failed to provide proper yo-yo’s, lifelines, stanchions, safety cables, safety belts, harnesses,
beamers and fall protection that was properly constructed, placed, operated and maintained;
further, failed to provide interior lines, high lines, stanchions, cables for tying off on the interior of

said structures; further, failed to provide safety devices that were in proper working order;
further, provided harnesses, beamers and other devices that were in a defective, improper
condition which failed to protect the worker from falling from an elevated worksite: further,
allowed slipping and tripping hazards to be and remain thereat; further, failed to provide safety
nets, scaffolding, guard rails and other safety devices to prevent a fall from an elevated
worksite; further, violated Sections 200, 240 and 241(6) of the Labor Law of the State of New
York, Rule 23 of the Industrial Code of the State of New York, specifically, but not limited to: 23-
1.5, 23-1.7, 23-1.15, 23-1.16, 23-1.17, 23-1.21, 23-1.22, 23-2, 23-3, 23-4, 23-5, 23-6, 23-7, 23-
8, Article 1926 of O.S.H.A. and was otherwise negligent careless and reckless, causing claimant
to sustain serious and severe injuries.
NINTH: Plaintiff was free from comparative fault.

TENTH: As a result of the aforesaid occurrence plaintiff was rendered sick, sore,

lame and disabled, was confined to bed and home for a long period of time; was caused to
expend large sums of money for medical aid and attention and has been prevented from
attending his usual occupation and/or avocation for a long period of time.

ELEVENTH: The monetary damages sustained by plaintiff exceed the jurisdictional
limitations of all lower courts which would otherwise have had jurisdiction,

WHEREFORE, the plaintiff demands relief against the defendants for conscious pain
and suffering, loss of enjoyment of life, medical expenses, past and future, lost wages and union
benefits, past and future, and all other recoverable items under New York State law.

AS AND FOR A SECOND CAUSE OF ACTION ON BEHALF
OF PLAINTIFF, ALEXANDRIA BITTENBENDER

TWELFTH: Plaintiff, ALEXANDRIA BITTENBENDER, repeats, reiterates and
realleges each and every allegation contained in Paragraphs "FIRST" through “ELEVENTH”
with the same force and effect as if herein fully set forth at length.

THIRTEENTH: That at all times hereinafter mentioned, plaintiff, ALEXANDRIA

BITTENBENDER, is the wife of plaintiff, HUGH BITTENBENDER, and resides with him.
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FOURTEENTH: By reason of the occurrence as aforesaid and the injuries

sustained by the  oplaintiff, HUGH BITTENBENDER, the plaintiff, ALEXANDRIA
BITTENBENDER, lost the support, services, love, companionship, affection, society, sexual
relations, solace of her husband, the plaintiff, HUGH BITTENBENDER, and her happiness in his
society has been impaired.

FIFTEENTH: The amount of damages sought by plaintiff, ALEXANDRIA
BITTENBENDER exceeds the jurisdictional limits of all lower courts which would otherwise have
jurisdiction.

WHEREFORE, plaintiff, ALEXANDRIA BITTENBENDER, demands relief against the
defendants herein.

SACKS AND SACKS, LLP
Attorneys for Plaintiff(s)
Office & P.O. Address:

150 Broadway - 4th Floor

New York, New York 10038
(212) 964-5570
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ATTORNEY'S VERIFICATION BY AFFIRMATION

|, DAVID H. MAYER, am an attorney duly admitted to practice in the courts of New York
State, and say that: | am the attorney of record, or of counsel with the attorney(s) of record, for
the plaintiff(s), | have read the annexed SUMMONS AND VERIFIED COMPLAINT know the
contents thereof and the same are true to my knowledge, except those matters therein which
are stated to be alleged on information and belief, and as to those matters | believe them to be
true. My belief, as to those matters therein not stated upon knowledge, is based upon the
following: facts, investigations and pertinent data contained in deponent's file.

The reason | make this affirmation instead of plaintiff is because plaintiff(s) reside in a
County other than where deponent maintains his office.

DATED: NEW YORK, NEW YORK
AUGUST 6, 2014

DAVID H. MAYER, ESQ.
